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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  EXELIXIS, INC.,                           )
                                            )
              Plaintiff,                    )
                                            )
        v.                                  ) C.A. No. 19-2017 (RGA) (SRF)
                                            ) CONSOLIDATED
  MSN LABORATORIES PRIVATE LIMITED          )
  and MSN PHARMACEUTICALS, INC.,            )
                                            )
              Defendants.                   )

                       EXELIXIS’ ANSWERING POST-TRIAL BRIEF
                        ON THE VALIDITY OF THE ’473 PATENT
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                               TABLE OF ABBREVIATIONS

      Abbreviation                                     Description

    ’473 patent       U.S. Patent No. 7,579,473 (JTX-3)

    ’776 patent       U.S. Patent No. 8,877,776 (JTX-1)

    ANDA              Abbreviated New Drug Application

    Asserted Claims   For the ’473 patent, claim 5
                      For the ’776 patent, claim 1

    FDA               United States Food and Drug Administration

    Exelixis          Exelixis, Inc.

    MSN               MSN Laboratories Private Limited and MSN Pharmaceuticals, Inc.

    Tr.               Final Trial Transcripts

    UF                Uncontested Facts (D.I. 270, Ex. 1)

    POSA              Person of ordinary skill in the art. For the ’473 patent, a POSA would
                      have the characteristics described at UF ¶ 23 as of September 26, 2003;
                      for the ’776 Patent, a POSA would have the characteristics described at
                      UF ¶ 46 as of January 15, 2010.

    CoC               Certificate of Correction

    MSN Br.           MSN’s Opening Post-Trial Brief on Invalidity (D.I. 307)

    EOFOF             Exelixis’ Opening Proposed Findings of Fact (D.I. 309)

    MOFOF             MSN’s Opening Proposed Findings of Fact (D.I. 306)

    EAFOF             Exelixis’ Answering Proposed Findings of Fact

    RCC               Renal Cell Carcinoma

    HCC               Hepatocellular Carcinoma

    DTC               Differentiated Thyroid Cancer

    VEGFR             Vascular Endothelial Growth Factor Receptor

    EGFR              Epidermal Growth Factor Receptor




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    TKI               Tyrosine Kinase Inhibitor

    Kirin             WO 03/000660 A1, Quinoline Derivative and Quinazoline Derivative
                      Inhibiting Self-Phosphorylation of Hepatocytus Proliferator Receptor,
                      and Medicinal Composition Containing the Same (DTX-6 (Japanese) or
                      DTX-7 (English translation))

    Traxler           Peter Traxler, Tyrosine Kinases as Targets in Cancer Therapy –
                      Successes and Failures, 7 Expert Op., Therapeutic Targets 215 (2003)
                      (DTX-17)

    Maulik            Gautam Maulik et al., Role of the Hepatocyte Growth Factor Receptor,
                      c-Met, in Oncogenesis and Potential for Therapeutic Inhibition, 13
                      Cytokine & Growth Factor Reviews 41 (2002) (DTX-37)

    Shawver           Laura K. Shawver et al., Smart Drugs: Tyrosine Kinase Inhibitors in
                      Cancer Therapy, 1 Cancer Cell 117 (2002) (DTX-39)

    Onderwater 1998   Rob C.A. Onderwater et al., Cytotoxicity of a Series of Mono- and Di-
                      substituted Thiourea in Freshly Isolated Rat Hepatocytes: A Preliminary
                      Structure-Toxicity Relationship Study, 125 Toxicology 117 (1998)
                      (DTX-18)

    Salaün            J. Salaün, Cyclopropane Derivatives and their Diverse Biological
                      Activities, 207 Topics in Current Chemistry 1 (2000) (DTX-28)

    Fry               D.W. Fry et al., Specific, Irreversible Inactivation of the Epidermal
                      Growth Factor Receptor and erbB2, By a New Class of Tyrosine Kinase
                      Inhibitor, 95 Proc. Nat’l Acad. Sci. USA 12022 (1998) (DTX-30)

    NCCN Guidelines   NCCN Clinical Practice Guidelines in Oncology: Kidney Cancer
                      Version 3.2022 – Nov. 4, 2021 (PTX-648)

    Kelner            M. Kelner et al., Efficacy of Acylfulvene Illudin Analogues Against a
                      Metastatic Lung Carcinoma MV522 Xenograft Nonresponsive to
                      Traditional Anticancer Agents: Retention of Activity Against Various
                      mdr Phenotypes and Unusual Cytotoxicity Against ERCC2 and ERCC3
                      DNA Helicase-deficient Cells, 55 Cancer Res. 136 (1995) (DTX-27)

    McMorris          T. McMorris et al., Structure and Reactivity of Illudins, 45 Tetrahedron
                      5433 (1989) (DTX-25)




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      I.      INTRODUCTION

           Cabozantinib, the active ingredient in Exelixis’ CABOMETYX® product, has benefited

   thousands of patients suffering from kidney cancer, hepatocellular carcinoma, and thyroid cancer.

   In clinical trials, CABOMETYX® has been shown to slow disease progression and prolong patient

   survival even when other treatments have failed. The clinical success of CABOMETYX® is

   directly attributable to cabozantinib, a tyrosine kinase inhibitor (“TKI”) that targets not only c-Met

   but at least twelve other tyrosine kinases. As Exelixis’ expert clinician Dr. Daniel George testified

   at trial, the unique inhibition profile of cabozantinib is the “secret sauce” responsible for the

   clinical success of CABOMETYX®. Tr. 579:21-580:2 (George); EAFOF ¶ 53.

           Discovered in September 2003, cabozantinib is claimed in U.S. Patent No. 7,579,473 (the

   “’473 patent”). MSN does not dispute that its proposed generic version of CABOMETYX®

   infringes claim 5 of the ’473 patent. It asserts that cabozantinib would have been obvious in view

   of the prior art. But there was nothing obvious about a novel, small-molecule c-Met inhibitor

   discovered at a time when targeted cancer therapy was in its infancy and failed attempts at new

   cancer treatments were common. While some approaches to targeted therapy had been validated

   in the clinic, c-Met was uncharted territory. The structure of the c-Met tyrosine kinase was

   unknown. Preclinical models proven effective for evaluation of c-Met inhibitors did not exist.

   And not a single c-Met inhibitor of any kind had been tested in the clinic. Moreover, researchers

   would have been faced with exploring a variety of potential approaches for c-Met inhibition, of

   which a small molecule c-Met inhibitor was just one.

           Given the many choices a skilled artisan would have had to make to discover cabozantinib,

   MSN cannot meet its burden to show invalidity by clear and convincing evidence. The selection

   of tyrosine kinase inhibition as opposed to other targeted cancer treatments was not obvious. The

   selection of c-Met as a target was not obvious given the absence of information about it as


                                                     1
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   compared to other tyrosine kinases. The decision to develop a small molecule inhibitor, instead

   of pursuing alternatives such as antibodies, was not obvious. And the selection of Example 5 from

   the Kirin reference and the modification of it with a cyclopropyl group at one specific location (as

   opposed to the many other potential substituents and various other locations on Example 5) was

   not obvious.

          MSN’s obviousness case is thus riddled with impermissible hindsight at every step. Only

   hindsight can explain MSN’s focus on a small molecule c-Met inhibitor given the array of other

   options available to a skilled artisan in September 2003. Only hindsight can explain MSN’s

   zeroing in on the Kirin reference, a patent application that exemplifies 333 small molecules that

   inhibited c-Met but does not contain clinical data or clinical validation for a single one. Only

   hindsight can explain MSN’s selection of Kirin Example 5, a malonamide1, as a “lead compound,”

   when not a single malonamide was included in Kirin’s list of five “most preferred” compounds,

   and the Kirin inventors did not report any in vivo pharmacological testing for any malonamide

   compound. Only hindsight can explain MSN’s categorical disregard of Kirin’s thiourea, urea and

   amide compounds, including five that were identified as “most preferred” and 23 that were tested

   in vivo. And only hindsight can explain MSN’s assertion that an ordinarily skilled artisan would

   have been motivated to add a cyclopropyl group (as opposed to one of the many other potential

   substituents) to Example 5, let alone at the precise location that results in cabozantinib. Moreover,

   MSN barely addresses its burden to show that a skilled artisan would have had a reasonable

   expectation of success. As Exelixis’ chemistry expert Dr. David MacMillan explained, the impact

   of changes made to a chemical structure is unpredictable as a general matter, and the




   1
    A malonamide is a chemical group that contains a carbonyl next to a nitrogen, another carbonyl
   next to a nitrogen, and a carbon in between. EAFOF ¶ 23 n.3; see infra § II.B.


                                                    2
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   unpredictability would have been particularly acute given the limited knowledge of the c-Met

   tyrosine kinase and its binding site in September 2003. An ordinarily skilled artisan would have

   had substantial concerns that the modification proposed by MSN would result in a compound that

   would not inhibit c-Met, and might also be toxic.

             MSN’s challenge to the validity of the ’473 patent should be rejected.

       II.      THE ’473 PATENT AND CABOZANTINIB

             A. Asserted Claim 5

             Claim 5 is the only claim of the ’473 patent asserted against MSN. Claim 5 is directed to

   the compound cabozantinib or a pharmaceutically acceptable salt of cabozantinib. UF ¶ 19;

   EAFOF ¶ 12. MSN has stipulated to infringement of claim 5. UF ¶ 20. The only issue the parties

   addressed at trial for claim 5 of the ’473 patent was alleged invalidity based on obviousness.

   D.I. 275 [Redacted Pretrial Order] at ¶¶ 6, 71. The parties have agreed that, for purposes of this

   case, the priority date for claim 5 is September 26, 2003. UF ¶ 22.

             B. Cabozantinib

             Cabozantinib is a reversible, spectrum-selective TKI.2 EAFOF ¶¶ 10, 11. A TKI is a

   targeted therapy that inhibits specific tyrosine kinase activity.3 EAFOF ¶ 9. Cabozantinib inhibits

   the tyrosine kinase activity of c-Met, VEGFR 1, 2 and 3, AXL, RET, ROS1, TYRO3, MER, KIT,

   TRKB, FLT-3, and TIE-2. EAFOF ¶ 10; PTX-343 (CABOMETYX® Label) at 28.

             The two-dimensional depiction of cabozantinib set forth below shows a malonamide group

   (in blue), which contains two carbonyl groups (circled in purple). EAFOF ¶ 23 n.3. The


   2
     A reversible inhibitor, such as cabozantinib, binds to a target and after a period of time, will be
   released from the target and removed from the body. EAFOF ¶ 11. A spectrum-selective inhibitor,
   such as cabozantinib, binds to multiple tyrosine kinases instead of only one. EAFOF ¶ 10.
   3
     A tyrosine kinase is an enzyme that activates cellular proteins. EAFOF ¶ 9. Tyrosine kinases
   have roles in normal cell function, but may also contribute to the growth of cancerous tumors and
   metastasis. EAFOF ¶ 9.


                                                     3
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   malonamide group in cabozantinib includes a three-member carbon ring called a cyclopropyl (in

   red). EAFOF ¶¶ 23 n.3, 44.




                           Figure 1 – Two-Dimensional Structure of Cabozantinib (PDX-5.9)
   Cabozantinib is the active ingredient in CABOMETYX®, which has been approved to treat renal

   cell carcinoma (“RCC”), hepatocellular carcinoma (“HCC”), and differentiated thyroid cancer

   (“DTC”). EAFOF ¶ 8.

         III.      ARGUMENT

                A. A Skilled Artisan Would Not Have Been Motivated to Pursue a c-Met Inhibitor
                   Over Other More Promising Targets in September 2003

                In September 2003, improved oncology drugs were desperately needed. EAFOF ¶¶ 14,

   55.     Existing treatments, such as chemotherapy, surgery, and radiation,               had significant

   shortcomings.4 EAFOF ¶ 14. Pharmacological targeted cancer therapies provided a new and

   promising approach. EAFOF ¶ 15. Unlike generalized therapies, targeted therapies could

   selectively target specific proteins in particular cells. EAFOF ¶ 15.

                By September 2003, researchers had identified many different types of targeted therapies

   to treat cancer; tyrosine kinase inhibition represented just one approach being explored. EAFOF

   ¶¶ 15, 16. As MSN’s clinical expert Dr. Mega admitted, the number of potential targets in 2003



   4
     For example, chemotherapy, the most common treatment for cancer in September 2003, kills
   both cancerous and healthy cells throughout the body and thus results in many undesirable side
   effects. EAFOF ¶ 14.


                                                         4
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    was “plentiful.” Tr. 802:3-13 (Mega); EAFOF ¶ 15. For example, the Oliff article upon which

    MSN relies (MSN Br. at 5) identified many types of targeted cancer therapies of which a skilled

    artisan would have been aware. DTX-66 (Oliff) at 5; EAFOF ¶ 15. And even within the specific

    approach of tyrosine kinase inhibition, potential targets were numerous. Traxler, another article

    cited by MSN (MSN Br. at 5-8), identified more than twenty different tyrosine kinase targets that

    were being evaluated in drug discovery oncology projects. DTX-17 (Traxler) at 1, 3, 11-13;

    EAFOF ¶ 16.5

           In September 2003, few examples of successful targeted cancer therapies, let alone TKIs,

    existed. As Exelixis’ clinical expert Dr. George explained, the field was in its “early days.”

    EAFOF ¶ 15. Moreover, in the context of TKIs, researchers knew more about some tyrosine

    kinases than others. EAFOF ¶¶ 17-19, 21. For example, a skilled artisan would have known that

    GLEEVEC®, approved to treat leukemia, inhibited Bcr-Abl, c-Kit, and PDFGR. EAFOF ¶ 17.

    Similarly, a skilled artisan would have known that HERCEPTIN®, approved to treat breast cancer,

    inhibited ERBB2. EAFOF ¶ 17. Likewise, a skilled artisan would have known that TARCEVA®

    and IRESSA®, which were in clinical trials for treatment of non-small cell lung cancer, inhibited

    EGFR. EAFOF ¶ 17. As Dr. George explained, many companies were developing drugs that

    targeted the EGFR and VEGFR kinases. EAFOF ¶ 17. As of September 2003, an ordinarily

    skilled artisan would have been motivated to pursue development of TKIs for these and other

    targets with clinical validation. EAFOF ¶¶ 18, 21.

           In contrast, much less was known about the c-Met kinase in September 2003. Unlike more

    studied tyrosine kinases, such as EGFR and ERBB2, no structural information was available for



    5
     Compounding the plentiful number of targets available as of 2003, a skilled artisan would also
    have had to decide, among other things, whether to pursue a small molecule or a monoclonal
    antibody. EAFOF ¶¶ 16 n.2, 21.


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    c-MET. EAFOF ¶ 19. As Dr. George explained, proven pre-clinical models for c-Met did not yet

    exist. EAFOF ¶ 19. Nor had researchers disclosed any clinical development of a c-Met inhibitor.

    EAFOF ¶ 19. Indeed, none of the articles upon which MSN relies (see MSN Br. at 7-8 (discussing

    Traxler, Maulik, and Shawver)) identifies any small molecule c-Met inhibitor in clinical

    development or reports any clinical research on a small molecule c-Met inhibitor. EAFOF ¶ 20.

    Traxler and Shawver only discussed c-Met TKIs briefly. DTX-17 (Traxler) at 13; DTX-39

    (Shawver) at 5; EAFOF ¶ 20. And Maulik did not discuss any small-molecule inhibitors of c-Met,

    but only referenced other types of inhibitors of the c-Met signaling pathway, such as antibiotics

    and peptide inhibitors. DTX-37 (Maulik) at 15-16; EAFOF ¶ 20.

           Although MSN relies upon Dr. George’s agreement in response to a question seeking a

    “yes or no” answer that there was a motivation to pursue a c-Met inhibitor in September 2003

    (MSN Br. at 7), Dr. George made clear that there would have been “no motivation to pursue a

    c-Met inhibitor compared with other better-known targets at the time” (Tr. 594:3-8 (George);

    EAFOF ¶ 21). This is because investigating a lesser-known target like c-Met, posed a higher risk

    of failure as compared to better-known targets. EAFOF ¶ 21. To lower the risk of developing a

    TKI, an ordinarily skilled artisan would have focused on where “you have the most likelihood of

    clinical development and clinical success.” Tr. 571:3-16 (George); EAFOF ¶ 18. This would have

    been in areas where skilled artisans had clinical validation that the target may effectively treat the

    disease. EAFOF ¶ 18. Dr. MacMillan agreed, observing that the focus would have been on the

    most promising targets and that c-Met was “a long way from there.”                Tr. 733:23-734:11

    (MacMillan); EAFOF ¶ 19. Even Dr. Lepore admitted that positive clinical results “would be in

    a list of things that one would consider” in determining which treatments to pursue. Tr. 467:10-

    15 (Lepore); EAFOF ¶ 18.




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           MSN’s suggestion that an ordinarily skilled artisan would have focused specifically on a

    c-Met inhibitor is thus predicated on “an overly narrow statement of the problem,” which can

    represent a form of prohibited reliance on hindsight.6 See Insite Vision Inc. v. Sandoz, Inc., 783

    F.3d 853, 859 (Fed. Cir. 2015) (internal quotation marks omitted). Such an approach fails to

    consider other categories of compounds that an ordinarily skilled artisan “would have been aware

    of in the relevant time-period,” including FDA-approved therapies and compounds that had

    already demonstrated efficacy in humans. See Mitsubishi Tanabe Pharma Corp. v. Sandoz, Inc.,

    533 F. Supp. 3d 170, 194-95 (D.N.J. 2021). Moreover, contrary to MSN’s suggestion, an

    ordinarily skilled artisan seeking to develop a drug would have “started by looking at FDA-

    approved drugs or at compounds with demonstrated clinical efficacy.” UCB, Inc. v. Accord

    Healthcare, Inc., 201 F. Supp. 3d 491, 542 (D. Del. 2016), aff’d 890 F.3d 1313 (Fed Cir. 2018),

    cert. denied, 139 S. Ct. 574 (2018). In sum, given the absence of any positive predictors of clinical

    success, an ordinarily skilled artisan would not have been motivated to pursue a c-Met inhibitor

    over other more promising targets.

           B. A Skilled Artisan Would Not Have Selected Example 5 of Kirin as a Lead
              Compound

           As MSN admits, the lead compound analysis “‘requires the challenger to demonstrate by

    clear and convincing evidence that one of ordinary skill in the art would have had a reason to select

    a proposed lead compound or compounds over other compounds in the prior art.’” MSN Br. at

    12 (quoting Daiichi Sankyo Co. v. Matrix Labs., 619 F.3d 1346, 1354 (Fed. Cir. 2010) (emphasis




    6
     MSN’s reliance on Pfizer, Inc. v. Apotex, Inc. (MSN Br. at 9) is misplaced. There, the Federal
    Circuit limited its holding to “the particularized facts of this case,” which did not involve the
    discovery of a new chemical entity. Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1367 (Fed. Cir.
    2007) (emphasis in original), cert. denied, 128 S. Ct. 110 (2007).


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    added), cert. denied, 131 S. Ct. 1678 (2011)). MSN has failed to demonstrate that an ordinarily

    skilled artisan would have selected Kirin Example 5 as a lead compound.

               1. A Skilled Artisan Seeking to Develop a Safe and Effective Targeted
                  Cancer Therapy In September 2003 Would Not Have Started With
                  Kirin

           In September 2003, tremendous interest surrounded the development of targeted cancer

    treatments, but the field was in its early days and substantial uncertainty surrounded the clinical

    development of tyrosine kinase inhibitors. EAFOF ¶¶ 15, 17. To reduce risk and increase the

    odds of success, a skilled artisan seeking to develop a new targeted therapy would have gravitated

    to targets that had already been validated in clinical research. See supra § III.A. The Kirin

    reference that serves as the cornerstone of MSN’s obviousness case contains no such proof of

    concept. Not one of the compounds disclosed in Kirin, let alone MSN’s “lead compound”

    Example 5, was clinically validated. Indeed, Kirin does not include any clinical data for the

    exemplified c-Met inhibitors, nor does the reference describe any c-Met inhibitor in clinical

    development. EAFOF ¶ 22. In addition, the only pharmacological data in Kirin pertains to

    inhibition of c-Met; Kirin does not disclose whether the exemplified compounds inhibit other

    tyrosine kinases. EAFOF ¶ 22. An ordinarily skilled artisan seeking to develop an effective cancer

    therapy thus would not have focused on Kirin, which was directed to a single target that had not

    been clinically validated, as a starting point for further development. EAFOF ¶ 22.

           MSN attempts to skirt these deficiencies by asserting that Kirin would have been the

    starting point for a skilled artisan “motivated to develop a small molecule c-Met inhibitor.” MSN

    Br. at 11. In so doing, MSN runs afoul of the rule that “‘[d]efining the problem in terms of its

    solution reveals improper hindsight in the selection of the prior art relevant to obviousness.’”

    Insite, 783 F.3d at 859-60 (quoting Monarch Knitting Mach. Corp. v. Sulzer Morat GmbH, 139

    F.3d 877, 881 (Fed. Cir. 1998)). Here, the problem to be solved (without the benefit of hindsight)


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    was the development of an effective targeted cancer therapy. As both Dr. George and Dr.

    MacMillan explained, while acknowledging that c-Met had been identified as a potential target,

    an ordinarily skilled artisan would have prioritized the development of inhibitors for better-known

    targets with demonstrated clinical results and validated pre-clinical tests. EAFOF ¶¶ 19, 21; see

    supra §III.A. An ordinarily skilled artisan would not have started with Kirin because it lacks such

    critical substantiation. EAFOF ¶ 22.

               2. A Skilled Artisan Would Not Have Selected Kirin Example 5 as a
                  Lead Compound Given the Kirin Inventors’ Clearly Expressed
                  Preference for Other Exemplified Compounds

           Having selected Kirin as a primary reference, MSN then completely disregards the express

    teachings of the reference in its hindsight-driven selection of Example 5 as a lead compound.

    Kirin’s list of “most preferred” compounds does not include a single malonamide, and specifically

    did not include Example 5. EAFOF ¶ 24; DTX-6 (Kirin) at 50. Moreover, while Kirin conducted

    in vivo testing in mice implanted with tumor cells for 23 of the 333 exemplified compounds, not

    a single malonamide was tested in vivo. EAFOF ¶¶ 27, 29; DTX-6 (Kirin) at 384-385, 389-393.

    Dr. Lepore’s disregard of Kirin’s express teachings is evidence of hindsight-based analysis.

           Dr. Lepore’s selection of Kirin Example 5 as a “lead compound” is at odds with Kirin’s

    express teaching that other types of compounds were more preferred than malonamides. Kirin

    generally discloses millions of compounds and specifically exemplifies 333 compounds falling

    into five categories: thioureas (160 compounds), ureas (99 compounds), biurets (42 compounds),

    malonamides (31 compounds), and amide (one compound). EAFOF ¶¶ 22-24. As Dr. Lepore

    acknowledged, thioureas are the most common among Kirin’s 333 exemplified compounds,

    whereas malonamides represent fewer than 10% of the exemplified compounds. EAFOF ¶ 23.

    Kirin’s clear preference for compounds other than malonamides is further evidenced in its list of

    “particularly preferred” and “most preferred” compounds. Of the 101 “particularly preferred”


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    compounds, only eight are malonamides, while more than half are thioureas, and one-third are

    ureas. EAFOF ¶ 24; DTX-6 (Kirin) at 50. And not a single one of Kirin’s five “most preferred”

    compounds is a malonamide, let alone Example 5. EAFOF ¶ 24. The “most preferred” compounds

    include three thioureas, one amide, and one urea. EAFOF ¶ 24; DTX-6 (Kirin) at 50. As Dr.

    MacMillan correctly observed, “a person of ordinary skill reading [Kirin] would see that the

    authors of this document designate most preferred compounds as being thioureas, ureas, and

    amides. But not biurets or malonamides.” Tr. 684:3-9 (MacMillan); EAFOF ¶ 25. And, certainly

    not Example 5.

           Dr. Lepore’s selection of a malonamide as a lead compound also cannot be reconciled with

    the absence of any reported in vivo testing of malonamides in Kirin. As Dr. MacMillan explained,

    in vivo tests are more valuable than in vitro tests because animal models provide a much better

    approximation of how a compound will behave in humans. EAFOF ¶ 26. Kirin reports data from

    three in vivo tests in which tumor cells were implanted into mice. EAFOF ¶ 27; DTX-6 (Kirin) at

    384-385, 389-393. Of the 23 Kirin compounds tested in at least one of the three in vivo tests, not

    one was a malonamide. EAFOF ¶ 27. The only data reported for any exemplified malonamide—

    including Example 5—resulted from a single in vitro pharmacological test that was performed on

    all 333 exemplified compounds. EAFOF ¶ 29. A skilled artisan would have understood Kirin to

    have selected the most promising compounds for in vivo testing. EAFOF ¶ 26. None of those 23

    compounds were malonamides. The conclusion an ordinarily skilled artisan would have drawn is

    clear: the Kirin inventors did not view malonamides to be as promising as other exemplified

    compounds. EAFOF ¶ 28; DTX-6 (Kirin) at 50, 384-385, 389-393. Dr. Lepore’s selection of

    Example 5 as a lead compound over the at least 23 other compounds that were clearly more highly

    valued by the Kirin inventors is yet further evidence of MSN’s hindsight-based approach. See




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    Pfizer Inc. v. Mylan Pharms. Inc., 71 F. Supp. 3d 458, 471 (D. Del. 2014) (selection of a lead

    compound with only in vitro data “appears largely the result of hindsight”), aff’d, 628 F. App’x

    764 (Fed. Cir. 2016).

                3. Dr. Lepore’s Rationale for Excluding Entire Classes of Compounds
                   Preferred by Kirin is Not Persuasive

           To circumvent Kirin’s clear preference for thioureas, MSN and Dr. Lepore argue that an

    ordinarily skilled artisan would “deprioritize the thiourea compounds because of known toxicity

    concerns with these compounds.” MSN Br. at 14. And they arbitrarily exclude from consideration

    two other categories of “most preferred” compounds identified in Kirin: ureas and amides. Both

    propositions are unsupported by the evidence.

           First, a skilled artisan would not have disregarded an entire class of compounds such as

    thioureas without a more detailed analysis of individual compounds. As Dr. MacMillan explained,

    as “a person of ordinary skill, a medicinal chemist, you don’t . . . take whole categories of

    molecules and just throw them out lock, stock and barrel.” Tr. 694:13-25 (MacMillan); EAFOF ¶

    30. This is particularly so given that Kirin prioritized thioureas. EAFOF ¶ 24. Thioureas are the

    most common of Kirin’s 333 exemplified compounds; half of the “particularly preferred”

    compounds; and 60% of the “most preferred compounds.” EAFOF ¶ 24; DTX-6 (Kirin) at 50. As

    Dr. Lepore acknowledged, the three most potent compounds in Table 2 of Kirin are thioureas.

    EAFOF ¶ 29. Moreover, most in vivo testing was done on thioureas. EAFOF ¶ 27. Yet Dr.

    Lepore casts all this disclosure aside to categorically exclude thioureas from his lead compound

    analysis.

           The alleged “toxicity” justification for Dr. Lepore’s exclusion of thioureas is

    fundamentally flawed; it is simply not true that a skilled artisan would have disregarded all

    thioureas as potentially toxic. The Kirin inventors certainly did not. EAFOF ¶ 24. As Dr.



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    MacMillan explained, Onderwater 1998, upon which Dr. Lepore relies for his toxicity point, shows

    that in September 2003, thiourea compounds were being used in human patients. EAFOF ¶ 32;

    DTX-18 (Onderwater 1998) at 2. A thiourea compound known as methimazole was approved to

    treat Graves’ disease, and another thiourea compound called trovirdine was in clinical

    development for treatment of AIDS. EAFOF ¶ 32. Moreover, Dr. Lepore’s comparison of a

    diphenylthiourea shown in the Onderwater reference to Kirin Example 1 is inapt. EAFOF ¶ 33.

    As Dr. MacMillan explained, the benzene ring in the diphenylthiourea simply does not correlate

    to the carbonyl in Kirin Example 1 and would not have led a skilled artisan to disregard all of the

    thioureas reported in Kirin as potentially toxic. EAFOF ¶¶ 31, 33.

           Second, Dr. Lepore’s disregard of ureas and amides is similarly without basis. Urea and

    amide compounds were among Kirin’s “most preferred” and were tested in the most important in

    vivo studies. EAFOF ¶¶ 24, 27. Moreover, Kirin discloses urea compounds that are more potent

    than Example 5 and among the most potent of all the disclosed compounds. EAFOF ¶¶ 29, 34;

    DTX-6 (Kirin) at 385-389. And Dr. Lepore admitted that he did not identify any toxicity issues

    with ureas or amides or offer an opinion that they were metabolically unstable. EAFOF ¶ 34. As

    to ureas, Dr. Lepore dismissed them categorically on the ground that they could not form

    irreversible inhibitors. Tr. 438:25-439:11 (Lepore). But as Dr. MacMillan explained, even if

    development of an irreversible inhibitor were a goal (which is contradicted by the evidence, see

    infra § III.C.1), a skilled artisan could have in fact modified the ureas exemplified in Kirin to be

    potential irreversible inhibitors. EAFOF ¶ 34. And Dr. Lepore did not present any reason at all

    as to why a skilled artisan would have disregarded the amide that is included in Kirin’s list of

    “most preferred” compounds, in favor of Example 5. EAFOF ¶¶ 24, 34; DTX6 (Kirin) at 50.




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           Finally, Dr. Lepore’s approach to the selection of a lead compound is internally

    inconsistent. On the one hand, Dr. Lepore categorically dismissed Kirin’s preferred thiourea

    compounds on the ground that they raised potential toxicity concerns. See Tr. 437:12-20, 489:17-

    490:5 (Lepore). On the other hand, despite acknowledging that malonamides can be metabolically

    unstable (and therefore prone to toxicity), Dr. Lepore selected Example 5 as a lead compound. See

    Tr. 487:14-488:14 (Lepore). As Dr. MacMillan observed: “So, it’s almost saying, I’m going to

    throw out a whole class of compounds to focus on a molecule that has a problem.” Tr. 703:1-11

    (MacMillan); see EAFOF ¶¶ 31, 35. That simply doesn’t make sense and further demonstrates

    MSN’s hindsight-based approach.

               4. A Skilled Artisan Would Not Have Selected Example 5 Over Other
                  More Potent Malonamides Disclosed in Kirin

           MSN’s hindsight-driven approach is further evident in Dr. Lepore’s selection of Example 5

    over Example 269, another malonamide that is clearly more potent. As acknowledged by MSN

    and Dr. Lepore, Example 269 was more potent than Example 5 and had other properties Dr. Lepore

    viewed as favorable. See MSN Br. at 15; EAFOF ¶ 37; Daiichi, 619 F.3d at 1354 (“Potent and

    promising activity in the prior art trumps mere structural relationships.”). In order to dismiss

    Example 269 of Kirin as a lead compound, Dr. Lepore resorted to the so-called Lipinski’s rules.

    But as Dr. MacMillan explained, a skilled artisan would not have ruled out Example 269 as a lead

    compound based on Lipinski’s rules. EAFOF ¶ 41.

           Lipinski’s rules provide a general set of criteria that can be used to alert medicinal chemists

    to potential bioavailability issues. EAFOF ¶ 38. Lipinski’s rules are guidelines, not hard and fast

    rules. EAFOF ¶ 38. In fact, there are many FDA-approved drugs that do not satisfy one or more

    of the criteria set forth in Lipinski’s rules. EAFOF ¶ 38. For example, one of Lipinski’s rules

    suggests that molecular weight should not be above 500 grams per mole. EAFOF ¶ 38. However,



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    in 2003, there were FDA-approved drugs, including cancer therapies, as well as compounds

    (including TKIs) being tested in the clinic that had molecular weights above 500 grams per mole.

    EAFOF ¶ 38.

           Moreover, as Dr. Lepore and MSN tacitly admit, Example 269 does not violate Lipinski’s

    rules. MSN Br. at 15 n.2. To violate Lipinski’s rules, a compound must fail two or more of

    Lipinski’s four criteria. EAFOF ¶ 39. Example 269 meets all the Lipinski criteria except

    molecular weight, and, as Dr. MacMillan explained, its molecular weight “would not raise a flag.”

    Tr. 700:4-21 (MacMillan); EAFOF ¶ 39. Although Dr. Lepore observed that Example 269 is at

    the “borderline” of the Lipinski range for Log P, Tr. 438:6-24 (Lepore), it is in the range and thus

    satisfies that criterion. EAFOF ¶ 39. In short, an ordinarily skilled artisan would not have excluded

    Example 269 for a violation of Lipinski’s rules for the simple reason that there is no violation.

    EAFOF ¶ 41. Nor would the differences in molecular weights between Examples 269 and 5 have

    dissuaded a POSA from prioritizing the more potent Example 269. EAFOF ¶ 40.

           C. A Skilled Artisan Would Not Have Been Motivated to Modify Example 5 By
              Adding a Cyclopropyl Group to the Malonamide

           MSN has failed to present clear and convincing evidence that an ordinarily skilled artisan

    would be motivated to modify Kirin Example 5 by adding a cyclopropyl group between the two

    carbonyls. As an initial matter, Dr. Lepore’s assertion that a skilled artisan would have been

    motivated to make an irreversible inhibitor in September 2003 is at odds with the testimony of the

    parties’ clinical experts, Dr. George and Dr. Mega. EAFOF ¶ 42. Moreover, Dr. Lepore’s

    hindsight-driven focus on the addition of a cyclopropyl group to the malonamide ignores the

    substantial concerns that a skilled artisan would have had about such a significant modification

    with a potentially unstable substituent, including the potential impact on toxicity and potency.

    EAFOF ¶¶ 44-48. Notably, Dr. Lepore did not identify at trial a single prior art reference



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    disclosing a malonamide substituted with a cyclopropyl group. EAFOF ¶¶ 44, 47. A skilled artisan

    would have had no suggestion in the prior art, and therefore no motivation, to make such a

    modification.

                    1. A Skilled Artisan Would Not Have Been Motivated to Develop an
                       Irreversible c-Met Inhibitor

           In an effort to support its theory that a skilled artisan would have been motivated to modify

    Example 5 by adding a cyclopropyl group to the malonamide, MSN asserts that a skilled artisan

    would have been motivated to pursue an irreversible inhibitor and that “there is no dispute about

    the desirability of an irreversible inhibitor.” MSN Br. at 10. The logic of this argument is hard to

    follow, given that cabozantinib is, in fact, a reversible inhibitor. But in any event, MSN’s premise

    is incorrect. Both Dr. George and Dr. MacMillan testified that a skilled artisan would not have

    been motivated to pursue an irreversible inhibitor in September 2003. EAFOF ¶ 42. Dr. George

    explained that while an irreversible inhibitor may have the benefit of irreversibly blocking a target

    in a cancerous tumor, irreversibility is not beneficial if the same target is, for example, important

    to facilitating blood supply to the body or maintenance of skin. EAFOF ¶ 42. Dr. MacMillan

    testified similarly that he disagreed with Dr. Lepore that a skilled artisan would have sought to

    develop an irreversible inhibitor, and described the “very, very significant” potential for toxicity.

    Tr. 715:19-716:5 (MacMillan); EAFOF ¶ 42. Dr. MacMillan also pointed out that one of the

    irreversible inhibitors cited by Dr. Lepore, CI-1033, turned out to be toxic. EAFOF ¶ 42.

    Although MSN misleadingly characterizes Dr. MacMillan’s testimony on the subject of

    irreversible inhibitors by quoting the single word “wonderful” (MSN Br. at 10), Dr. MacMillan in

    fact testified on cross examination that while an ordinarily skilled artisan understood the potential

    benefits of an irreversible inhibitor, they would “at the same time [have] understood the pitfalls

    and toxicity aspects” of an irreversible inhibitor and that “it’s very much a risk-reward system”



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    and a “far more difficult thing . . . to pull off.” Tr. 731:9-20 (MacMillan); EAFOF ¶ 42. Indeed,

    the risks associated with irreversible inhibitors have resulted in a decision finding that in the early

    2000s “there was widespread industry aversion to irreversible inhibitors for drug products.” Onyx

    Therapeutics, Inc. v. Cipla Ltd., C.A. No. 16-988-LPS, 2020 WL 2214443, at *14 (D. Del. May

    4, 2020), aff’d 839 F. App’x 545 (Fed. Cir. 2021).

           MSN’s own experts provided little support for Dr. Lepore’s theory that a skilled artisan

    would have been motivated to make an irreversible inhibitor. Dr. Lepore is not an oncologist and,

    for example, admitted that he was relying upon Dr. Mega to determine what a skilled artisan would

    target in the development of a cancer treatment. Tr. 463:16-464:8 (Lepore). Dr. Mega merely

    stated that a skilled artisan could have pursued either an irreversible or reversible inhibitor without

    expressing an opinion on the merit of either pursuit. EAFOF ¶ 42. The record is thus devoid of

    any clinical expert opining that a skilled artisan would have been motivated to modify an existing

    c-Met inhibitor to make it irreversible. Moreover, the Fry paper relied upon by MSN (MSN Br. at

    10) does not support the assertion that a skilled artisan would have sought to develop an irreversible

    c-Met inhibitor in September 2003. EAFOF ¶ 43; DTX-30 (Fry). Fry describes the development

    of an irreversible inhibitor of EGFR and ERBB2, not c-Met. EAFOF ¶ 43. As Dr. MacMillan

    explained, in September 2003, researchers could better predict potential impact of irreversibility

    in the context of inhibition of EGFR and ERBB2 because they had structural information about

    the binding pocket for those tyrosine kinases. EAFOF ¶ 43. In contrast, much less was known

    about the c-Met kinase in September 2003. EAFOF ¶ 43. Unlike the more studied tyrosine

    kinases, such as EGFR and ERBB2, no structural information was available for c-Met. EAFOF

    ¶¶ 19, 43; see supra § III.A.




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                   2. A Skilled Artisan Would Not Have Been Motivated to Add a
                      Cyclopropyl Group to Kirin Example 5

           Although chemical compounds are often depicted in two dimensions, tyrosine kinases and

    TKIs exist in three dimensions. See supra § II.B; see also EAFOF ¶ 46. As Dr. MacMillan

    analogized, the tyrosine kinase is a lock and the TKI is a key. EAFOF ¶ 46. For the TKI to

    function well, you need a “snug fit” between the grooves of the lock and key. Tr. 669:13-20

    (MacMillan); EAFOF ¶ 46. One of the “essential paradigms” of molecular chemistry is that even

    small changes to a compound can cause large effects. Tr. 667:19-25 (MacMillan); EAFOF ¶¶ 46,

    50.

           A cyclopropyl group is a small three-membered ring of carbon atoms that when added to a

    molecule would change the three-dimensional structure of the molecule. EAFOF ¶¶ 44, 46. Given

    the ring configuration, the carbon-to-carbon bonds in a cyclopropyl group are not linear but are

    folded and bent. EAFOF ¶ 45. This results in “ring strain,” such that the carbon-to-carbon bonds

    of the cyclopropyl ring are susceptible to breaking.7 EAFOF ¶ 45. Given these properties, an

    ordinarily skilled artisan would have had substantial concerns about adding a cyclopropyl group

    between the carbonyls in Example 5.

           First, the addition of a cyclopropyl group is a significant change that would not only have

    altered the three-dimensional shape of Example 5 but could have unpredictably altered the

    compound’s functionality. EAFOF ¶ 46. As Dr. MacMillan explained with reference to the lock

    and key analogy, if the grooves on the key are changed (here, by adding a cyclopropyl group to

    Example 5), the ability to interact with the lock (here, c-Met) may also change, and a skilled artisan


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      At trial, Dr. MacMillan explained the difference between normal linear bonds and the folded
    bonds in a cyclopropyl group with reference to a piece of dry spaghetti. Linear bonds are strong;
    if you pull straight on each end of a piece of dry spaghetti, it is unlikely to break. Folded bonds
    are strained; if you put your thumb in the middle and slowly start to bend the piece of spaghetti, it
    will snap. Tr. 706:13-707:13 (MacMillan).


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    would not know whether the molecule will inhibit c-Met or not. EAFOF ¶ 46. The unpredictability

    of adding any group at any position (including, but certainly not limited to a cyclopropyl group at

    that particular position on Example 5) would have been particularly acute because in September

    2003, skilled artisans did not have structural information for c-Met (i.e., the shape of the “lock”

    was not known). EAFOF ¶ 46. As a result, one could not have predicted how changing Example

    5 (i.e., the “key”) would have impacted the compound’s ability to inhibit c-Met. EAFOF ¶ 46.

           In an effort to address the substantial uncertainty that a skilled artisan would have had about

    the modification proposed by Dr. Lepore, MSN resorts to prior art describing cyclopropyl-

    containing compounds known as “illudins.” MSN Br. at 20 (citing DTX-25 (McMorris) and

    DTX-27 (Kelner)). MSN contends that, because illudins were irreversible inhibitors, a skilled

    artisan would reasonably have expected the modified Example 5 to irreversibly inhibit c-Met. Id.

    However, even MSN concedes that a geminal cyclopropyl analog of Example 5 would only

    irreversibly inhibit c-Met if c-Met had a “properly located nucleophile,” which MSN refers to as

    a “molecular hook.” MSN Br. at 20. And of course, whether or not c-Met had such a hook was

    unknown in September 2003. EAFOF ¶¶ 19, 43, 46. Moreover, Dr. MacMillan explained that

    illudins are a class of molecules that interact with DNA, not tyrosine kinases, let alone c-Met.

    EAFOF ¶ 47. An ordinarily skilled artisan would thus have found literature regarding illudins to

    be “simply irrelevant to the analysis of Compound 5 and cabozantinib.”                  Tr. 711:5-24

    (MacMillan); EAFOF ¶ 47.

           Second, a skilled artisan would have had concerns that adding a cyclopropyl group between

    the carbonyl groups of Example 5 could have resulted in increased toxicity. EAFOF ¶ 48.

    Contrary to MSN’s assertion that a skilled artisan would have been drawn to cyclopropyl groups

    based on the Salaün reference (MSN Br. at 21), Salaün confirms that the position between the two




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    carbonyls on Example 5 is extremely reactive for a cyclopropyl. EAFOF ¶ 48; see also DTX-28

    (Salaün). Adding a cyclopropyl group to that position would result in an extremely reactive

    cyclopropyl group and create ring strain in the molecule, giving a skilled artisan “significant

    concerns about reactivity which leads to toxicity.” Tr. 672:22-673:6 (MacMillan); EAFOF ¶ 48;

    see also DTX-28 (Salaün).

           Third, Kirin itself suggests that adding a substituent to the position between the carbonyl

    groups in Example 5, could reduce the potency by 3.3 to 9.1 times. EAFOF ¶ 49; DTX-6 (Kirin)

    at 385-389; PDX-5.33. Introducing a second substituent in related compounds was shown to

    reduce potency by even more, 3.75 to 12.8 times. EAFOF ¶ 49; DTX-6 (Kirin) at 385-389;

    PDX-5.33. A skilled artisan considering Kirin would not, therefore, have been motivated to add a

    substituent between the carbonyl groups in the malonamide group in Example 5. EAFOF ¶¶ 48,

    49.

           D. A Skilled Artisan Would Not Have Had a Reasonable Expectation of Success

           MSN failed to present clear convincing evidence that an ordinarily skilled artisan would

    have had a reasonable expectation of success in obtaining a compound with the properties of

    cabozantinib after modifying Kirin Example 5 by adding a cyclopropyl group. See, e.g., In re

    Papesch, 315 F.2d 381, 391 (C.C.P.A. 1963) (“From the standpoint of patent law, a compound

    and all of its properties are inseparable; they are one and the same thing.”).

           First, a skilled artisan would have had no reasonable expectation that the resulting

    compound would be potent and non-toxic. As a general matter, the drug development process for

    new cancer therapeutics is an unpredictable, arduous process, in which many compounds are

    attempted to be developed without success. EAFOF ¶ 50 n.4. Moreover, medicinal chemistry is

    unpredictable, and it is “very difficult to know what’s going to happen” when one or more

    substitutions introduce new groups into a compound. Tr. 718:13-720:15 (MacMillan); EAFOF


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    ¶ 50. The unpredictability is even more acute here because the structure of the c-Met tyrosine

    kinase was not known. EAFOF ¶ 50. Introducing a cyclopropyl group to Example 5, particularly

    between the carbonyl groups, would have given a skilled artisan concern about reactivity, which

    could have resulted in toxicity. Tr. 719:10-20 (MacMillan) (“As we discussed, we – a person of

    ordinary skill would have significant concerns with reactivity of that as this bending

    phenomenon.”); EAFOF ¶ 48. Introducing a cyclopropyl group in that position would have also

    created concerns about reduced potency, i.e., “the Kirin reference itself told us that when you

    introduce groups at that position of a malonamide, that the potency would actually diminish.”

    Tr. 719:10-25 (MacMillan); EAFOF ¶ 49; PDX-5.33.

           Second, a skilled artisan would have had no reasonable expectation that Example 5, or any

    modified Example 5, would have resulted in a spectrum-selective tyrosine kinase inhibitor such as

    cabozantinib. See In re Dillon, 919 F.2d 688, 697 (Fed. Cir. 1990) (“[A] compound and all of its

    properties are inseparable and must be considered in the determination of obviousness.”), cert.

    denied, 111 S. Ct. 1682 (1991). A skilled artisan would have had no idea based on information in

    Kirin about spectrum selectivity, because “the Kirin reference itself, only spoke to c-Met data. It

    didn’t tell you anything about any other kind of tyrosine kinases” and at the time it was “really

    difficult to predict the inhibition that would be acquired.” Tr. 720:1-8 (MacMillan); EAFOF ¶ 51.

           Third, even if one’s objective were to develop an irreversible inhibitor, a skilled artisan

    would not have reasonably expected that adding a cyclopropyl group to Example 5 would have

    resulted in an irreversible inhibitor. EAFOF ¶ 52. Dr. Lepore admitted as much when he testified

    that: “It was a possibility that it could be reversible or irreversible depending upon the enzyme . . .

    [t]hat was true before the crystal structure of the molecule was available and one didn’t know for

    sure.” Tr. 463:2-463:8 (Lepore); EAFOF ¶ 52. And of course, in fact, cabozantinib is not an




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    irreversible inhibitor. EAFOF ¶ 52.       This confirms the unpredictability of the substitution

    suggested by Dr. Lepore. Tr. 806:9-23 (Mega) (confirming that an ordinarily skilled artisan

    looking for an irreversible inhibitor would not have been led to cabozantinib); EAFOF ¶ 52.

           E. Objective Evidence Further Demonstrates Non-Obviousness

           Objective evidence further confirms that claim 5 of the ’473 patent would not have been

    obvious. Cabozantinib, the active ingredient of Exelixis’ CABOMETYX® product, has a unique

    and unexpected tyrosine kinase inhibition profile that has resulted in significant clinical success in

    the treatment of RCC, HCC, and certain thyroid cancers.8 EAFOF ¶¶ 8, 53, 59. CABOMETYX®

    has also been a tremendous commercial success.              Given that the active ingredient of

    CABOMETYX® is cabozantinib, a nexus exists between claim 5 of the ’473 patent and its

    commercial embodiment, CABOMETYX®. EAFOF ¶ 53; see also Immunex Corp. v. Sandoz Inc.,

    964 F.3d 1049, 1067 (Fed. Cir. 2020) (“Nexus is appropriately presumed in this case where the

    court concluded that the claims are directed to the active ingredient in Enbrel® and its method of

    manufacture.”), cert. denied, 141 S. Ct. 2623 (2021).

                   1. Cabozantinib Fulfilled a Long-Felt, Unmet Need for Improved
                      Cancer Treatment

           As of September 2003, there was a significant unmet need for improved cancer treatments.

    EAFOF ¶ 55. The most common cancer treatments—surgery, chemotherapy, and radiation—had

    major shortcomings (see supra at § III.A), and there was a significant need for improved treatments

    for RCC, HCC and thyroid cancer. EAFOF ¶¶ 14, 55-57. CABOMETYX® has been approved

    for treatment of RCC, HCC, and certain thyroid cancers, and, as even as Dr. Mega admits, extended




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      In 2021, in the United States, there were an estimated 76,000 diagnoses of kidney cancer and
    13,000 deaths, an estimated 42,000 diagnoses of HCC and 30,000 deaths, and an estimated 44,000
    diagnoses of thyroid cancer and 2,000 deaths. Tr. 542:10-544:6 (George); EAFOF ¶ 8 n.1.


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    patient lives. EAFOF ¶¶ 8, 57. Cabozantinib has thus fulfilled the long-felt unmet need for

    improved therapy. EAFOF ¶¶ 55-57.

           Cabozantinib has been particularly effective in RCC patients who have failed prior

    therapies.   EAFOF ¶¶ 56.      As Dr. George explained, cancer therapies generally lose their

    effectiveness over time, and new therapies are needed to fill the void when prior treatments fail.

    EAFOF ¶ 56. Cabozantinib has done just that. EAFOF ¶¶ 56-58. For example, Exelixis’ Phase

    III METEOR Study demonstrated that, when compared to the then standard of care second-line

    treatment everolimus, cabozantinib delayed disease progression and improved overall survival for

    RCC patients. EAFOF ¶ 57; PTX-647 (METEOR Study). On the basis of these significant results,

    CABOMETYX® was approved as a second-line therapy for the treatment of RCC. EAFOF ¶¶ 57,

    58. CABOMETYX® was later approved as a first-line therapy after a clinical trial demonstrating

    significant clinical benefit in progression-free survival over sunitinib, the long-standing standard-

    of-care first-line treatment for RCC patients. EAFOF ¶ 57; PTX-505 (CABOSUN Study) at 5.

    The National Comprehensive Cancer Center’s practice guidelines recognize cabozantinib as a

    preferred treatment for kidney cancer in several settings, including as a part of the preferred

    regimens for first-line therapy and subsequent therapy.          EAFOF ¶ 57; PTX-648 (NCCN

    Guidelines) at 14-15.

           The therapeutic effectiveness of CABOMETYX® is tied to cabozantinib’s unique

    inhibition profile, which provides a difference-in-kind improvement over other treatments.

    EAFOF ¶¶ 53, 57. As Dr. George explained, cabozantinib “is doing something that no other drug

    in the field is doing in the refractory setting” while also showing “clear superiority” in front-line

    setting against drugs like sunitinib. Tr. 576:16-577:9 (George); EAFOF ¶ 57. It has the ability to

    extend patients’ lives while maintaining quality of life. EAFOF ¶ 57.




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           That other drugs have been approved for the treatment of RCC, HCC and thyroid cancer

    does not—as MSN contends (MSN Br. at 22)—negate the existence of a long-felt, unmet need for

    improved therapies. As an initial matter, courts “look to the filing date of the challenged invention

    to assess the presence of a long-felt and unmet need.” Procter & Gamble Co. v. Teva Pharms.

    USA, Inc., 566 F.3d 989, 998 (Fed. Cir. 2009). It is undisputed that there were no targeted therapies

    approved to treat RCC, HCC or thyroid cancer in September 2003. EAFOF ¶ 55. Moreover, the

    existence of competing drugs, particularly in a setting where drugs often lose efficacy, does not

    negate a long-felt need. See, e.g., Pfizer, 71 F. Supp. 3d at 475 (“[E]ven with the competing drugs

    available, sunitinib malate satisfied a long-felt need in the treatment of these cancers.”). This is

    particularly so with cabozantinib, which demonstrated improvement over earlier-approved

    therapies such as everolimus and sunitinib. See supra § III.E.1.

           Similarly misguided is MSN’s argument that cabozantinib has not satisfied a long and

    unmet need because it “only fills a need for improved therapy options . . . ‘in part.’” MSN Br. at

    22. MSN has cited no authority that requires Exelixis to demonstrate that cabozantinib fully

    satisfied the need for improved treatments for RCC, HCC, and thyroid cancer. In fact, this court

    has found the opposite. See, e.g., UCB, 201 F. Supp. 3d at 538 (finding that treatment for epilepsy

    met long-felt need because even though it did not work for all patients, it had beneficial properties

    lacking in other available treatments). Because cabozantinib is an effective, life-extending

    treatment for multiple patient populations suffering from challenging, and sometimes fatal,

    cancers, it has satisfied a long-felt and unmet need.

                   2. Others Have Failed to Develop Safe and Effective Targeted
                      Cancer Treatments

           Exelixis also demonstrated the failure of others, which further supports the

    non-obviousness of the claimed cabozantinib. Symbol Techs., Inc. v. Opticon, Inc., 935 F.2d 1569,



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    1578-79 (Fed. Cir. 1991) (nonobviousness is suggested by the failure of others to find a solution

    to the problem which the treatment purports to solve.). As Dr. George testified, cabozantinib “can

    work even in the setting where other drugs have failed.” Tr. 577:19-25 (George); EAFOF ¶ 56.

           Moreover, Exelixis need not show that others “failed to synthesize the compound of claim

    5 of the ’473 patent,” as MSN incorrectly suggests. See MSN Br. at 23. “[I]t is not just the failure

    of others to identify the exact product claimed by the patents that is relevant.” Allergan, Inc. v.

    Teva Pharms. USA, Inc., No. 2:15-CV-1455-WCB, 2017 WL 1319555, at *2 (E.D. Tex. Apr. 10,

    2017), aff’d 742 F. App’x 511 (Fed. Cir. 2018). The fact that others were going in different ways

    is strong evidence of non-obviousness. Id. Here, the clinical experts agreed that there have been

    many failures in the development of cancer therapeutics. EAFOF ¶¶ 50 n.4, 58. Moreover, even

    within the context of c-Met inhibitors, Dr. MacMillan and Dr. George testified at trial that none of

    the Kirin compounds advanced to clinical development, suggesting that these compounds were

    failures as well. EAFOF ¶ 58.

                   3. Cabozantinib Unexpectedly Has a Unique Spectrum-Selective
                      Inhibition Profile

           Cabozantinib, with its unique spectrum-selective profile, achieved unexpected clinical

    results. The clinical efficacy of second- and third-line treatments were unknown because no such

    treatments existed. EAFOF ¶ 58. Not only did cabozantinib work in patients who had been treated

    with other tyrosine kinase inhibitors, but cabozantinib worked when these other drugs stopped

    working. EAFOF ¶ 58.

           Cabozantinib’s clinical success is due to its inhibition of a unique and unexpectedly broad

    spectrum of tyrosine kinase targets—MET, VEGF-receptor 1, 2 and 3, AXL, RET, ROS1, TYR03,

    MER, KIT, TRKB, FLT-3 and TIE-2. EAFOF ¶¶ 10, 53; PTX-343 (CABOMETYX® Label) at

    28. As of 2003, and even now, there are no known tyrosine kinase inhibitors with the same



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    inhibition profile as cabozantinib. EAFOF ¶ 51. This unique inhibition profile was the “secret

    sauce” that resulted in the clinical benefit. EAFOF ¶ 53. In 2003, an ordinarily skilled artisan

    would not have expected this profile, let alone the clinical results. EAFOF ¶¶ 51, 58.

              MSN’s contention that Exelixis has failed to establish unexpected results because Dr.

    George did not conduct any comparison with Kirin Example 5 (MSN Br. at 24) is incorrect. It is

    undisputed that no Kirin compound has ever been approved for human use. EAFOF ¶ 58.

    Therefore, there is a significant clinical benefit associated with cabozantinib that is not associated

    with Kirin Example 5 or any other compound disclosed in Kirin. EAFOF ¶ 58.

                     4. CABOMETYX® is a Commercial Success

              There can be no doubt that CABOMETYX® has been a tremendous commercial success.

    EAFOF ¶¶ 59-60. As Exelixis’ expert Michael Tate testified: CABOMETYX ® made over $1

    billion in net product revenue in 2021 and over $3 billion in net product revenue since its launch.

    EAFOF ¶ 59; PTX-896. By the second quarter of 2021, at least 34,000 patients had been treated

    with CABOMETYX®. EAFOF ¶ 59; PTX-364. MSN’s critiques that Mr. Tate did not make

    “comparisons to other products,” did not evaluate the “commercialization costs to bring the

    product to market,” and relied on “uninformative market shares” (MSN Br. at 24) do not rebut

    commercial success. See, e.g., UCB, Inc., 201 F. Supp. 3d at 522-23 (finding commercial success

    where drug product including claimed compound generated significant sales, totaling $1.67 billion

    in the U.S. since its launch). Indeed, MSN did not rebut Exelixis’ claim of nexus between claim 5

    and CABOMETYX®. EAFOF ¶ 54.

        IV.      CONCLUSION

              For the reasons above, Exelixis respectfully requests that the Court determine that claim 5

    of the ’473 patent is not invalid and find that making, using, offering to sell, or selling in the United

    States, or importing into the United States MSN’s proposed 20 mg, 40 mg, and 60 mg generic


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    cabozantinib tablets (“MSN’s Tablets”) will literally infringe claim 5 of the ’473 patent and,

    therefore, that the submission of MSN’s ANDA infringes that claim under 35 U.S.C.

    § 271(e)(2)(A) and that upon FDA approval MSN will infringe that claim under 35 U.S.C.

    § 271(a).   Exelixis further requests that the Court enter an order pursuant to 35 U.S.C.

    § 271(e)(4)(A) providing that the effective date of any approval of MSN’s ANDA shall be a date

    which is not earlier than the latest expiration date of the Patents-in-Suit, including any extensions

    and/or additional periods of exclusivity to which Exelixis is or becomes entitled, and an order

    permanently enjoining MSN, its affiliates, subsidiaries, and each of its officers, agents, servants

    and employees and those acting in privity or concert with them, from making, using, offering to

    sell, or selling in the United States, or importing into the United States MSN’s Tablets until after

    the latest expiration date of the Patents-in-Suit, including any extensions and/or additional periods

    of exclusivity to which Exelixis is or becomes entitled.




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    July 22, 2022




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on July 22, 2022, I caused the foregoing to be electronically filed with

    the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

    participants.

           I further certify that I caused copies of the foregoing document to be served on July 22,

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